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15   Platforms, Inc.
16
                                 UNITED STATES DISTRICT COURT
17
                         FOR THE NORTHERN DISTRICT OF CALIFORNIA
18
                                        OAKLAND DIVISION
19
      WHATSAPP LLC, and                 )
20                                      )             Case No. 4:19-cv-07123-PJH
      META PLATFORMS INC.,
                                        )
21                                      )
                      Plaintiffs,       )             PLAINTIFFS’ OPPOSITION AND
22                                      )             STATEMENT IN RESPONSE TO
             v.                         )             DEFENDANTS’ ADMINISTRATIVE
23                                      )             MOTION TO FILE UNDER SEAL
24    NSO GROUP TECHNOLOGIES LIMITED )
      and Q CYBER TECHNOLOGIES LIMITED, )             Ctrm:    3
                                        )             Judge:   Hon. Phyllis J. Hamilton
25                                      )
                      Defendants.       )
26                                                    Action Filed: October 29, 2019
                                        )
                                        )
27                                      )
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 1           TO ALL PARTIES AND THEIR COUNSEL OF RECORD:

 2           Pursuant to Civil Local Rules 7-11(b) and 79-5(f)(3), Plaintiffs WhatsApp LLC and Meta

 3   Platforms, Inc. (“Plaintiffs”), by and through their counsel, respectfully submit this Opposition and

 4   Statement in Response to the Administrative Motion to File Under Seal (the “Administrative Mo-

 5   tion”) filed by Defendants NSO Group Technologies Limited and Q Cyber Technologies Limited

 6   (“NSO”). The Administrative Motion identifies certain documents (the “Sealed Documents”) filed

 7   in connection with NSO’s Reply in Support of NSO’s Motion to Dismiss or for Summary Judgment

 8   for Lack of Personal Jurisdiction and for Partial Summary Judgment (the “Reply”) as containing

 9   information that should be filed under seal. Dkt. No. 433 at 3. 1

10           Plaintiffs request that the Court keep under seal only certain portions of the Sealed Documents

11   that they produced. Specifically, Plaintiffs request that the Court keep only certain portions of Ex-

12   hibits AA and BB to the Supplemental Akrotirianakis Declaration under seal, as indicated in the

13   redacted versions of those exhibits attached to the Declaration of Craig T. Cagney filed herewith

14   (“Plaintiffs’ Sealed Materials”). Plaintiffs make this request pursuant to Local Civil Rules 79-5(c)

15   and (d). Plaintiffs have no objection to unsealing Exhibit CC to the Supplemental Akrotirianakis

16   Declaration, which NSO describes as constituting or discussing information that Plaintiffs have des-

17   ignated as “Highly Confidential – Attorneys’ Eyes Only.” See Dkt. No. 433 at 11.

18           Plaintiffs otherwise take no position with respect to the remaining Sealed Documents that

19   were not designated as confidential by Plaintiffs, except to oppose NSO’s redactions to the Dawson

20   Declaration itself. See Dkt. No. 433-1.2 As previously stated, see Dkt. Nos. 414, 425, Plaintiffs

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22   1
       The Sealed Documents include portions of: (1) the Declaration of Matthew Dawson in Support of
23   the Administrative Motion (the “Dawson Declaration”), Dkt. No. 433-1; (2) the Reply, Dkt. No. 433-
     2; (3) the Declaration of Tamir Gazneli in Support of the Reply, Dkt. No. 433-3; (4) the Supplemental
24   Declaration of Terrence McGraw in Support of the Reply and the exhibits thereto, Dkt. No. 433-4;
     and (5) the exhibits to the Supplemental Declaration of Joseph Akrotirianakis in Support of the Reply
25   (the “Supplemental Akrotirianakis Declaration”), Dkt. No. 433-5.
     2
       NSO attempts to justify sealing its own expert reports by claiming that Plaintiffs filed the expert
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     reports of David Youssef under seal “for the same reason”—namely, because they contain highly
27   confidential technical information. Dkt. No. 433-1 at 11. While Plaintiffs take no position with re-
     spect to NSO’s request to seal these reports, for the avoidance of doubt, Plaintiffs filed Mr.
28   Youssef’s reports under seal because they reference material that NSO has designated as Highly
                                                        1
     PLS.’ OPP. AND STATEMENT IN RESP. TO DEFS.’ ADMIN. MOT. TO FILE UNDER SEAL
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 1   object to those portions remaining under seal because that information is already in the public do-

 2   main.

 3             I.    Plaintiffs’ Sealed Materials

 4           Compelling reasons exist to protect the confidential information and privacy interests of cer-

 5   tain of Plaintiffs’ non-testifying individual employees. Specifically, Exhibits AA and BB to the Sup-

 6   plemental Akrotirianakis Declaration are excerpts from deposition transcripts of Plaintiffs’ witnesses

 7   and contain the name of one of Plaintiffs’ non-testifying employees, whose identity is not pertinent

 8   to any issue, claim, or defense in this Action. See Dkt. No. 433-5, Exs. AA, BB; Cagney Decl. ¶ 3.

 9           “[R]edaction of [their] identifying information is particularly appropriate here, because the

10   public’s interest in the name of [an employee] is likely insignificant, as the exact name is irrelevant

11   to the legal issues in this case.” O’Connor v. Uber Techs., Inc., 2015 WL 355496, at *2 (N.D. Cal.

12   Jan. 27, 2015); see also Nursing Home Pension Fund v. Oracle Corp., 2007 WL 3232267, at *1

13   (N.D. Cal. Nov. 1, 2007) (“The Ninth Circuit has found that compelling reasons exist to keep personal

14   information confidential to protect an individual’s privacy interest and to prevent exposure to harm

15   or identity theft.” (citing Foltz v. State Farm Mut. Auto. Ins. Co., 331 F.3d 1122, 1134 (9th Cir.

16   2003))); Ehret v. Uber Techs., Inc., 2015 WL 12977024, at *3 (N.D. Cal. Dec. 2, 2015) (“While the

17   . . . employees are employed by a party in this case and have a lower privacy interest, their specific

18   e-mail addresses are not relevant to the merits of the motion of this case.”). In addition, the public

19   disclosure of Plaintiffs’ employees’ names in connection with litigation has sometimes been followed

20   by harassment, online threats, and/or suspicious phone calls, text-messages or emails, particularly in

21   cases with significant media attention. There is little, if any public interest, in those identities, so the

22   private interests justify sealing. Cagney Decl. ¶ 3.

23           For the foregoing reasons, Plaintiffs request that Plaintiffs’ Sealed Materials remain under

24   seal. This request is narrowly tailored to only sealable material (as submitted concurrently herewith).

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27   Confidential-Attorneys’ Eyes Only and Plaintiffs have stated that they have no objection to unseal-
     ing them. See Dkt. No. 439 at 1.
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 1            II.    NSO’s Sealed Documents

 2           As NSO acknowledges, the heightened “compelling reasons” standard must be satisfied to

 3   support continued sealing. See Dkt. No. 433 at 1–2. Under this Court’s Civil Pretrial Instructions,

 4   “[r]equests to seal documents used in conjunction with dispositive motions are rarely granted and

 5   then only upon a showing of the most compelling of reasons.” Civil Pretrial Instructions ¶ A.10.

 6           In addition to seeking to seal various documents, NSO seeks to seal several paragraphs of the

 7   Dawson Declaration that describe the Israeli law restrictions, and NSO’s interactions with the Israeli

 8   government. See, e.g., Dkt. No. 433-1 ¶¶ 4–13. As noted previously, see Dkt. Nos. 405-2 at 3–5,

 9   414 at 4, those Israeli law restrictions and interactions with the Israeli government have been de-

10   scribed in multiple public reports and are accordingly matters of public record. 3 No compelling rea-

11   son can exist to protect from disclosure information that has already been made public. Kamakana

12   v. City & Cnty. of Honolulu, 447 F.3d 1172, 1184 (9th Cir. 2006) (no compelling reason to seal

13   documents where “many names or references for which the United States sought redaction were

14   either already publicly available or were available in other documents being produced,” including a

15   press release). Accordingly, NSO has not met its burden to redact these portions of the Dawson

16   Declaration.

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       See Harry Davies & Stephanie Kirchgaessner, Israel Tried to Frustrate US Lawsuit Over Pegasus
23   Spyware, Leak Suggests, The Guardian (July 25, 2024, 12:00 PM), https://www.theguard-
     ian.com/news/article/2024/jul/25/israel-tried-to-frustrate-us-lawsuit-over-pegasus-spywareleak-sug-
24   gests; Phineas Rueckert & Karine Pfenniger, Israel Maneuvered to Prevent Disclosure of State Se-
     crets Amid WhatsApp vs NSO, Forbidden Stories (July 25, 2024), https://forbiddenstories.org/actu-
25
     alites_posts/israel-maneuvered-to-prevent-disclosure-of-state-secretsamid-whatsapp-vs-nso-law-
26   suit; Amnesty International, Israel’s Attempt to Sway WhatsApp Case Casts Doubt on Its Ability to
     Deal with NSO Spyware Cases (July 25, 2024), https://www.amnesty.org/en/lat-
27   est/news/2024/07/israels-attempt-to-sway-whatsapp-case-casts-doubt-on-itsability-to-deal-with-
     nso-spyware-cases.
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 1    Dated: October 22, 2024                        Respectfully Submitted,

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19                                                           Meta Platforms, Inc.
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